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                     Exhibit A
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                                            [DO NOT PUBLISH]
                                In the
                United States Court of Appeals
                      For the Eleventh Circuit

                        ____________________

                             No. 21-10335
                        ____________________

       IN RE: ZANTAC (RANITIDINE)
       PRODUCTS LIABILITY
       LITIGAION
       ___________________________________________________
       ____
       PLUMBERS & PIPEFITTERS LOCAL UNION 630
       WELFARE FUND,
                                               Plaintiff-Appellant,
       versus
       GLAXOSMITHKLINE LLC,
       GLAXOSMITHKLINE (AMERICA) INC.,
       GLAXOSMITHKLINE PLC,
       BOEHRINGER INGELHEIM PHARMACEUTICALS, INC.,
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       BOEHRINGER INGELHEIM CORPORATION, et. al.,


                                                           Defendants-Appellees,


       PAR PHARMACEUTICALS, INC.,


                                                                        Defendant.


                               ____________________

                   Appeal from the United States District Court
                       for the Southern District of Florida
                      D.C. Docket No. 9:20-md-02924-RLR
                            ____________________

       Before JORDAN and LAGOA, Circuit Judges.*
       PER CURIAM:
              This appeal involves the dismissal of one of the master com-
       plaints in In re Zantac (Ranitidine), MDL No. 2924. That complaint
       was described below as the Consolidated Third-Party Payor Class
       Complaint, and we will refer to it as the CTPPCC here.




       * After oral argument, Judge Luck recused himself from this case. This opinion

       is therefore issued by a quorum. See 28 U.S.C. § 46(d); 11th Cir. R. 34-2.
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                                        I
             Three plaintiffs—Plumbers & Pipefitters Local Union 630,
       the NECA-IBEW Welfare Trust Fund, and the Indiana Laborers
       Welfare Fund—filed the CTPPCC.
              Asserting a number of claims, the CTPPCC plaintiffs sued a
       number of defendants on behalf of numerous purported nation-
       wide and state classes. They alleged that they provide eligible
       members with health and welfare benefits, including the payment
       of and reimbursement for prescription drugs on behalf of their
       members (and their dependents). Those members filled prescrip-
       tions requiring reimbursement for Zantac and ranitidine products
       in several states.
              The CTPPCC divided the defendants into two main groups:
       (a) the brand-name manufacturer defendants (who manufactured
       and sold Zantac); and (b) the generic manufacturer defendants
       (who manufactured and sold generic versions of Zantac containing
       ranitidine as an active ingredient). The CTPPCC contained nine
       claims: Count 1, a claim under the Racketeer Influence and Cor-
       rupt Organizations (RICO) Act, was asserted against the brand-
       name manufacturer defendants on behalf of nationwide and state
       classes. Counts 2–9 (claims for breach of express warranties, breach
       of implied warranties, violations of the Magnuson-Moss Warranty
       Act, fraud, negligent misrepresentation and omission, violations of
       state consumer protection laws, unjust enrichment, and
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       negligence) were asserted against the generic manufacturer de-
       fendants and GlaxoSmithKline on behalf of a nationwide class. 1
              A number of defendants moved to dismiss the CTPPCC.
       One of the grounds they asserted for dismissal was that the
       CTPPCC constituted an impermissible shotgun pleading under
       Eleventh Circuit law. The district court agreed with the defendants
       on this point, ruled that the CTPPCC was indeed a shotgun plead-
       ing, and dismissed it without prejudice and with leave to amend.
       See D.E. 2515 at 13 (summary of ruling: “The Court concludes that
       the Class Complaints [including the CTPPCC] are both impermis-
       sible shotgun pleadings. . . . [T]he Class Complaints are dismissed
       without prejudice and with leave to amend.”); D.E. 2515 at 54 (dis-
       missing the CTPPCC without prejudice and with leave to amend).
              With respect to its shotgun pleading ruling, the district court
       explained that the CTPPCC, like other class complaints filed in the
       MDL, suffered from two problems. First, it lumped 67 related and
       unrelated defendants across two groups, thereby creating confu-
       sion and failing to provide a factual basis to distinguish the conduct
       of individual defendants. See id. at 22. Second, it incorporated 519
       background and factual paragraphs into every count, forcing the
       defendants to sift out irrelevant matters and making it virtually im-
       possible to know which factual allegations were intended to sup-
       port which claims for relief. See id. at 22–23. The court noted that


       1 Given the procedural basis for our decision, we dispense with further details

       concerning the claims asserted by the CTPPCC plaintiffs.
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       its ruling might lead to longer class complaints but said that it could
       not permit pleadings that did not comply with Rule 8, provided in-
       adequate notice, and unduly burdened the parties. See id. at 23. It
       expressed confidence that the plaintiffs, including the CTPPCC
       plaintiffs, could replead with precision given its rulings and the ben-
       efit of some discovery since the filing of the class complaints. See
       id.
                The district court explained that it could not definitively rule
       on some of the standing questions because of the shotgun pleading
       problems presented by the CTPPCC. See id. at 23–24. Neverthe-
       less, it resolved some of the standing issues. For example, it ruled
       that the named class plaintiffs—including the CTPPCC plaintiffs—
       lacked standing to assert claims on behalf of putative class members
       whose own claims arose under the laws of other states. See id. at
       36. On this ground, the district court dismissed without prejudice
       Counts 2, 3, and 5–9 of the CTPPCC to the extent they were
       brought under the laws of certain states. See id. at 37–38. 2
              In separate orders, the district court granted the motions of
       several groups of defendants to dismiss certain claims (including
       those asserted in the CTPPCC) on the basis of federal preemption.
       Some of the dismissals on this ground were with prejudice, but


       2 These jurisdictions were Alaska, Arkansas, California, Connecticut, Dela-

       ware, the District of Columbia, Hawaii, Idaho, Kansas, Massachusetts, New
       Hampshire, New York, North Dakota, Oklahoma, Puerto Rico, Rhode Island,
       South Dakota, Vermont, Virginia, Washington, and West Virginia.
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       others were without prejudice and with leave to amend. See gen-
       erally D.E. 2512, 2513, 2516, 2532.
              All three of the CTPPCC plaintiffs declined to amend their
       complaint. See D.E. 2694 at 2. Of the three, only Plumbers filed a
       notice of appeal.3
                                              II
              More than three weeks before Plumbers filed its initial brief,
       the appellees (who were the defendants below) moved to dismiss
       the appeal for lack of jurisdiction. Focusing on the orders and is-
       sues identified in the notice of appeal, the appellees argued that the
       appeal was moot because Plumbers apparently did not seek to ap-
       peal one of the district court’s independent grounds for dismissal
       of the CTPPCC—that it constituted a shotgun pleading. Because
       that ground was apparently not going to be challenged, the appel-
       lees asserted that nothing that this court could do on appeal could
       revive the CTPPCC.




       3 Plumbers admits that its notice of appeal erred in listing the district court’s

       order on innovator liability claims, D.E. 2516, rather than the orders dismiss-
       ing certain claims on preemption and standing grounds, D.E. 2515. See Ap-
       pellants’ Resp. to Mot. to Dismiss at 8 n.2. But Plumbers is correct that, under
       our precedent, “an appeal is not lost” if such a mistake does not “mislead or
       prejudice the respondent.” Nichols v. Ala. State Bar., 815 F.3d 726, 730 (11th
       Cir. 2016) (citations omitted). Here, Plumbers sufficiently indicated that it
       wished to appeal the district court’s rulings on “‘preemption and standing
       grounds.’”
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               In its initial brief, Plumbers challenged the dismissal of the
       CTPPCC only with respect to the district court’s standing and
       preemption rulings. See Appellants’ Br. at iii–iv (table of contents),
       1–2 (statement of the issues), 23–26 (summary of the argument),
       27–41 (argument on standing), 41–57 (argument on preemption).
       Nowhere in that brief did Plumbers contest the district court’s rul-
       ing that the CTPPCC constituted a shotgun pleading that was sub-
       ject to dismissal.
               On the same day that it filed its initial brief, Plumbers re-
       sponded to the appellees’ motion to dismiss the appeal for lack of
       jurisdiction. Plumbers explained that it had chosen not to amend
       the CTPPCC as permitted by the district court, and as a result un-
       der Eleventh Circuit law the dismissal without prejudice became
       final at the end of the amendment period, thereby permitting it to
       appeal. See, e.g., Schuurman v. Motor Vessel Betty K V, 798 F.2d
       42, 445 (11th Cir. 1986). Plumbers also maintained that the shot-
       gun pleading ruling made no difference to appealability because it
       was barred from amending certain claims (e.g., those that relied on
       a misbranding theory). The shotgun pleading ruling, Plumbers ar-
       gued, only constrained the manner in which it was to replead any
       theories left open by the preemption rulings. And because it had
       chosen not to amend the CTPPCC, it would have no claims to al-
       lege in an amended complaint that followed the court’s shotgun
       pleading instructions. Finally, Plumbers disagreed with the appel-
       lees’ mootness argument. According to Plumbers, the appeal was
       not moot because if we reversed the standing and preemption
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       rulings, it could pursue those theories on remand and then would
       follow the district court’s instructions as to how to remedy the
       shotgun pleading problems.
                                        III
               A threshold issue is whether Plumbers has standing to pur-
       sue its claims. See Bowsher v. Synar, 478 U.S. 714, 721 (1986). Ar-
       ticle III standing has three components: (1) the plaintiff must have
       “suffered an injury in fact, (2) that is fairly traceable to the chal-
       lenged conduct of the defendant[s], and (3) that is likely to be re-
       dressed by a favorable judicial decision.” Spokeo, Inc. v. Robins,
       578 U.S. 330, 338 (2016). “[A]t the pleading stage, the plaintiff must
       clearly . . . allege facts demonstrating each element” of stand-
       ing. Id. (internal quotation marks omitted).
                                         A
               Here, the first element of standing is generally undisputed.
       Plumbers has alleged that the manufacturers of Zantac and other
       ranitidine products caused them economic injury “because [it]
       made payments or reimbursements for a product that was eco-
       nomically worthless.” D.E. 888 at ¶ 14. Its alleged economic injury
       satisfies Article III’s injury-in-fact requirement. See Debernardis v.
       IQ Formulations, LLC, 942 F.3d 1076, 1084 (11th Cir. 2019) (“Cer-
       tainly, an economic injury qualifies as a concrete injury.”).
              We turn, then, to traceability. None of the defendants here
       deny that they manufactured ranitidine products, but the CTPPCC
       plaintiffs originally brought suit against dozens of defendants.
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        Plumbers listed 50 of those defendants in its notice of appeal, and
        later clarified in its reply brief that it had “abandoned every claim
        against any brand-name defendant,” Appellant’s Reply Br. at 4, so
        we granted a joint motion to dismiss those defendants from this
        appeal. Of the remaining defendants, Plumbers has only alleged
        “exemplar payments for generic ranitidine” for, at most, 14 of the
        22 named generic manufacturer defendants.4
               Plumbers had to sufficiently allege how its injuries are trace-
        able to the conduct of each defendant. See Wilding v. DNC Ser-
        vices Corp., 941 F.3d 1116, 1126 (11th Cir. 2019) (concluding that,
        because some plaintiffs had failed to allege whether or not they do-
        nated to a political candidate before or after certain false statements
        were made, they had failed to allege that their injuries were fairly

        4 Those defendants are Par Pharmaceutical Inc.; Amneal Pharmaceuticals

        LLC; Amneal Pharmaceuticals of New York, LLC; Teva Pharmaceuticals
        U.S.A., Inc.; Glenmark Pharmaceuticals, Inc., USA; Glenmark Pharmaceuti-
        cals Ltd.; Wockhardt USA LLC; Wockhardt, Ltd; Sandoz Inc.; Lannett Co.,
        Inc.; Nostrum Laboratories, Inc.; Strides Pharma, Inc.; Dr. Reddy’s Laborato-
        ries Inc.; and Dr. Reddy’s Laboratories, Ltd. The defendants originally argued
        that Plumbers only alleged representative reimbursements for 11 entities.
        That is true, but some of those allegations could implicate multiple compa-
        nies. For example, Plumbers alleges that it reimbursed purchases for products
        made by “Wockhardt” but it is unclear if that implicates both Wockhardt USA
        LLC and Wockhardt, Ltd. See D.E. 888 at ¶ 219. These two entities are sub-
        sidiaries of Wockhardt, Ltd., and the CTPPCC plaintiffs referred to them col-
        lectively as “Wockhardt” when describing the generic manufacturer defend-
        ants in their complaint. See id. at ¶¶ 112–16. And at least one of the alleged
        reimbursements is to a company called “Akorn Hi Tech,” which is not a de-
        fendant in this litigation. See id. at ¶ 219.
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        traceable to those false statements). Because Plumbers only al-
        leged injuries traceable to 14 defendants, it only has standing to
        pursue its claims against those 14. Plumbers cannot haul into court
        parties that did not allegedly cause harm, even on behalf of un-
        named class members. See Stevens v. Osuna, 877 F.3d 1293, 1311
        (11th Cir. 2017) (affirming dismissal of claims against a government
        official because the plaintiff had failed to allege sufficient facts to
        demonstrate a constitutional violation by that official). The district
        court seemed to acknowledge this problem in its order but did not
        clearly rule on the question.
               Given Plumbers’ continued pursuit of its claims, we make
        clear that we affirm the district court to the extent that it dismissed
        for lack of standing Plumbers’ claims against defendants who it did
        not allege caused it financial (or other) injury. As to the 14 defend-
        ants who did manufacture products allegedly purchased by Plumb-
        ers’ members (and who were then reimbursed by Plumbers), they
        do not dispute that such an economic injury is fairly traceable to
        them as the manufacturers of those drugs.
               Plumbers seeks redress for its injuries under two federal laws
        and dozens of state laws. We assume those claims are meritorious
        when assessing Article III standing. See Culverhouse v. Paulson &
        Co., Inc., 813 F.3d 991, 994 (11th Cir. 2016) (citing City of
        Waukesha v. EPA, 320 F.3d 228, 235 (D.C. Cir. 2003)). A favorable
        decision on one of Plumbers’ claims—all of which stem from the
        same pocketbook injury—“would likely redress that injury by
        awarding [Plumbers] damages against” the responsible defendants.
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        See Fox v. Ritz-Carlton Hotel Co., L.L.C., 977 F.3d 1039, 1047 (11th
        Cir. 2020) (citing Resnick v. AvMed, Inc., 693 F.3d 1317, 1324 (11th
        Cir. 2012)). And because Plumbers has standing on at least one of
        its claims, this “is sufficient to satisfy Article III’s case-or-contro-
        versy requirement” with respect to its appeal. Cf. Rumsfeld v.
        F.A.I.R., Inc., 547 U.S. 47, 52 n.2 (2006) (explaining that the pres-
        ence of one party with standing is sufficient to establish a justiciable
        matter on appeal).
                                           B
                Plumbers challenges another one of the district court’s
        standing rulings on appeal: the dismissal of “claims on behalf of
        class members whose claims arise under the laws of states in which
        no named [CTPPCC plaintiff] reside[s] or purchased ranitidine
        products.” D.E. 2515 at 34. Plumbers argues that its ability to raise
        these claims for putative class members is one of representative ca-
        pacity under Federal Rule of Civil Procedure 23—not one of con-
        stitutional significance under Article III. We agree.
               “[S]tanding is not dispensed in gross.” DaimlerChrysler
        Corp. v. Cuno, 547 U.S. 332, 353 (2006). A plaintiff “must demon-
        strate standing separately for each form of relief sought,” and
        “standing as to one claim [does not] suffice for all claims arising
        from the same ‘nucleus of operative fact.’” Id. at 352. “Standing
        requirements,” moreover, “apply with no less force in the class ac-
        tion context.” Fox, 977 F.3d at 1046 (citing Lewis v. Casey, 518 U.S.
        343, 357–58, 358 n.6 (1996)).
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                Article III has “two related, but distinct” requirements for
        class representative standing. See id. (citing Mills v. Foremost Ins.
        Co., 511 F.3d 1300, 1307 (11th Cir. 2008)). First, the class repre-
        sentative must satisfy the “individual standing prerequisites” of Ar-
        ticle III. See Mills, 511 F.3d at 1307. Second, the class representa-
        tive “must also ‘be part of the class and possess the same interest
        and suffer the same injury as the class members.’” Id. (quoting
        Prado-Steinman ex. Rel. Prado v. Bush, 221 F.3d 1266, 1279 (11th
        Cir. 2000)).
                Plumbers alleged that the unnamed class members all suf-
        fered similar “economic losses” from the defendants’ “breaches of
        express and implied warranties, wrongful acts, fraudulent misrep-
        resentations and omissions, and negligence.” D.E. 888 at ¶ 491.
        Recognizing that some of the class members’ claims may fall under
        the laws of other states, Plumbers makes certain representations
        about the similarities of some of its claims from state to state. For
        Counts 2, 3, 7, and 9, Plumbers alleges that the laws of those states
        are substantially similar to each other, or that the allegedly injuri-
        ous conduct falls within the meaning of the laws of all relevant ju-
        risdictions. With respect to the claims for common law fraud
        (Count 5) and negligence (Count 6), Plumbers does not identify
        any particular jurisdiction as the source of law underlying its
        claims. Plumbers’ lack of specificity on this choice-of-law question
        may present a merits problem, but we are unconvinced that it con-
        stitutes an Article III standing problem.
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                The question the defendants raise—whether Plumbers itself
        has causes of action under the dozens of state statutes it invokes—
        is not a standing question at all. It is, instead, a Rule 12(b)(6) merits
        issue. Four of our sister circuits have reached similar conclusions.
        See Morrison v. YTB International, Inc., 649 F.3d 533, 536 (7th Cir.
        2011); Langan v. Johnson & Johnson Consumer Companies, Inc.,
        897 F.3d 88, 93, 96 (2d Cir. 2018); In re Asacol Antitrust Litig., 907
        F.3d 42, 49 (1st Cir. 2018); Mayor of Baltimore v. Actelion Pharms.
        Ltd., 995 F.3d 123, 134 (4th Cir. 2021).
                In Morrison and Langan, the Seventh and Second Circuits
        held that whether class members’ claims fall under another state’s
        laws is a Rule 23 matter and not a standing issue. In Morrison, the
        Seventh Circuit rejected the defendants’ argument that plaintiffs
        residing outside the state of Illinois lacked standing to pursue a class
        claim under the Illinois Consumer Fraud Act, explaining that “this
        application of choice-of-law principles has nothing to do with
        standing, though it may affect whether a class should be certified—
        for a class action arising under the consumer-fraud laws of all 50
        states may not be manageable, even though an action under one
        state’s law could be.” 649 F.3d at 536. In Langan, the Second Cir-
        cuit applied Morrison to a case more similar to this one and con-
        cluded that “as long as the named plaintiffs ha[d] standing to sue
        the named defendants, any concern about whether it is proper for
        a class to include out-of-state, nonparty class members with claims
        subject to different state laws is a question of predominance under
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        Rule 23(3)(b), . . . not a question of ‘adjudicatory competence’ un-
        der Article III.” 897 F.3d at 93 (citations omitted).
                The First and Fourth Circuits have been slightly more exact-
        ing. The First Circuit agreed with the Seventh and Second Circuits
        in In re Asacol, but only so long as “the named plaintiffs parallel
        those of the putative class members in the sense that, assuming a
        proper class is certified, success on the claim under one state’s law
        will more or less dictate success under another state’s law.” 907
        F.3d at 49. Finally, the Fourth Circuit explained in Actelion Phar-
        maceuticals that a plaintiff may have failed to state a claim under a
        state statute’s requirements by failing to reside in the state whose
        law it invoked, but “[n]onetheless, the claims that the plaintiffs
        made on behalf of class members who purchased [the drug at issue]
        in States other than [the states in which the plaintiffs resided] need
        not be stricken or disregarded;” those counts “define[d] class mem-
        bers’ claims” and “may be considered in determining whether the
        plaintiffs’ claims” satisfy the typicality and commonality require-
        ments of Rule 23. See 995 F.3d at 134. 5


        5 The Fourth Circuit reasoned that the defendants’ arguments against standing

        sounded more in what it called “statutory standing,” Actelion Pharmaceuti-
        cals, 995 F.3d at 134, or what the Supreme Court has characterized as an in-
        quiry into the nature of a litigant’s cause of action to sue under a statute, which
        is “not derived from Article III” at all. See Lexmark Intern, Inc. v. Static Con-
        trol Components, Inc., 572 U.S. 118, 126 (2014). According to the Supreme
        Court, these labels cover “three broad principles: the general prohibition on a
        litigant’s raising another person’s legal rights, the rule barring adjudication of
        generalized grievances more appropriately addressed in the representative
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                In sum, all circuits which have addressed whether a plaintiff
        can represent unnamed class members whose claims fall under dif-
        ferent states’ laws have concluded that it is a question that concerns
        Rule 12(b)(6) or Rule 23—not Article III. A leading class action
        treatise is of the same view. See William B. Rubenstein, 1 Newberg
        on Class Actions § 2:6 (5th ed. & Dec. 2021 update) (“[W]hen a class
        plaintiff shows individual standing, the court should proceed to
        Rule 23 criteria to determine whether, and to what extent, the
        plaintiff may serve in a representative capacity on behalf of the
        class.”).
                Our precedents do not dictate otherwise. In Prado, we ex-
        plained that “it is well-settled that prior to the certification of a
        class, and technically speaking before undertaking any formal typi-
        cality or commonality review, the district court must determine
        that at least one named class representative has Article III standing
        to raise each class subclaim.” 221 F.3d at 1279. Accordingly, we
        remanded and directed the district court to “ensure that at least one
        named representative of each class or subclass ha[d] standing for


        branches, and the requirement that a plaintiff’s complaint fall within the zone
        of interests protected by the law invoked.” Id. at 126 (citation omitted). In
        Actelion Pharmaceuticals, the Fourth Circuit held that “the plaintiffs did not
        allege facts to show that they satisfied the statutory requirements of States
        other than Maryland, California, and Florida” and consequently could “not
        seek relief for their own injuries under those States’ statutes.” 995 F.3d at 134
        (citing CGM, LLC v. BellSouth Telecomms, Inc., 664 F.3d 46, 52 (4th Cir.
        2011) (“A dismissal for lack of statutory standing is effectively the same as a
        dismissal for failure to state a claim.”)).
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        each proffered class or subclass claim.” Id. at 1280. But we did so
        in the context of a Rule 23(f) interlocutory appeal and through the
        lens of Rule 23(a). See id. at 1282–83. Nothing in Prado suggests
        an Article III limitation on a class representative’s ability to repre-
        sent unnamed class members based on the laws of states where
        their similar injuries took place. To the contrary, Prado noted the
        “fluid nature of class certification rulings” and explained that “ex-
        tensive interlocutory review” of the standing objections seemed
        “particularly inappropriate” given that the “factual record is not
        fully developed” and “at worst several new named representatives
        would have to be added to the class or several of the subclaims
        would have to be amended or dropped.” Id. at 1278.
               In Mills, we similarly “stress[ed] that the fact that the [named
        plaintiffs] ha[d] standing as putative class representatives [was] an
        issue distinct from whether they qualif[ied] under Rule 23 to repre-
        sent the class.” 511 F.3d at 1307. So too here. Plumbers has stand-
        ing to bring some of its claims, but whether it is ultimately an ap-
        propriate class representative for individuals whose claims may
        arise under the laws of other states is a question falling under Rules
        12(b)(6) or 23 and one that has yet to be argued, much less decided.
               Finally, in Fox we reasoned that the plaintiff had standing to
        sue Ritz-Carlton for the conduct of restaurants he had never visited
        because “Fox and the class members have suffered the same eco-
        nomic injury from Ritz-Carlton’s gratuity and sales tax practices
        across its properties in Florida,” and “[w]hile those injuries may
        have occurred on different days at different restaurants, those facts
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        do not change what injuries Fox alleged those class members suf-
        fered.” 977 F.3d at 1047. The same is true in this case. The fact
        that the unnamed class members’ injuries may have occurred in
        other states does not change things so long as the alleged injuries
        and interests are substantially the same.
                In sum, we conclude that Plumbers had Article III standing
        to bring its claims against the defendants who allegedly sold
        ranitidine products to its members and for which it provided exem-
        plar reimbursements. For class representation purposes, “the
        claims that the plaintiffs made on behalf of class members who [re-
        imbursed purchases of ranitidine products in other states] need not
        be stricken or disregarded,” as those claims “may be considered”
        when determining the appropriateness of class certification under
        Rule 23. See Actelion Pharmaceuticals Ltd., 995 F.3d at 134. The
        district court erred in ruling otherwise.
                                         IV
               That said, the district court’s ruling that the CTPPCC con-
        stituted a shotgun pleading was an independent basis for dismissal.
        To recap, the district court concluded that the CTPPCC lumped
        over 60 related and unrelated defendants across two groups,
        thereby creating confusion and failing to provide a factual basis for
        distinguishing the conduct of individual defendants. Moreover,
        each count of the CTPPCC incorporated the same preceding 519
        background and factual paragraphs, making it virtually impossible
        to know which factual allegations are intended to support which
        claim for relief.
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               As noted, Plumbers has not challenged the shotgun pleading
        ruling in any way on appeal. And that is a problem, because “[t]o
        obtain reversal of a district court judgment that is based on multi-
        ple, independent grounds an appellant must convince us that every
        stated ground for the judgment against him is incorrect. When an
        appellant fails to challenge properly on appeal one of the grounds
        on which the district court based its judgment, he is deemed to
        have abandoned any challenge of that ground, and it follows that
        the judgment is due to be affirmed.” Sapuppo v. Allstate Floridian
        Ins. Co., 739 F.3d 678, 680 (11th Cir. 2014). By not attacking the
        shotgun pleading ruling, Plumbers has left us with no choice but to
        affirm the dismissal of the CTPPCC.
               Plumbers cannot avoid the effect of the principle articulated
        in Sapuppo by arguing that the shotgun pleading concerns do not
        matter because it is only seeking to appeal the standing and
        preemption rulings and because it did not have the opportunity to
        fix the shogun pleading problems. And it also cannot get around
        Sapuppo by arguing it will remedy the shotgun pleading problems
        on remand if we reverse the standing and preemption rulings.
        There is no futility exception to Sapuppo. Had Plumbers wished
        to preserve its ability to amend its complaint after an appeal, it
        should have fixed the shotgun pleading problems prior to appeal-
        ing.
                 The appellees argue in their motion to dismiss that Plumb-
        ers’ failure to challenge the shotgun pleading ruling makes the ap-
        peal moot, but we disagree. An appeal must be dismissed as moot
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        if an “event occur[ring] while [the] appeal is pending . . . makes it
        impossible for the court to grant ‘any effectual relief whatever’ to
        a prevailing party.” Church of Scientology of California v. United
        States, 506 U.S. 9, 12 (1992) (citation omitted). Typically, that event
        is external to the parties’ appellate litigation conduct. See, e.g.,
        United States v. Juvenile Male, 564 U.S. 932, 937 (2011) (juvenile’s
        appeal of supervision condition requiring registration as a sex of-
        fender became moot when the order of supervision expired).
                We recognize that some of our sister circuits have couched
        the failure to appeal all alternative grounds in mootness terms. See,
        e.g., R.S.W.W., Inc. v. City of Keego Harbor, 397 F.3d 427, 443 n.7
        (6th Cir. 2005); Horizon Bank & Trust Co. v. Massachusetts, 391
        F.3d 48, 53–54 (1st Cir. 2004). But the better approach, and the one
        we have followed in cases like Sapuppo, is to treat that failure as
        requiring an affirmance on the merits. See also Nagle v. Alspach, 8
        F.3d 141, 143 (3d Cir. 1993); Williams v. Leach, 938 F.2d 769, 772–
        73 (7th Cir. 1991); 5 C.J.S. Appeal and Error § 839 (March 2022 up-
        date).
               Mootness, according to the Supreme Court, is an Article III
        concern, see, e.g., Arizonans for Official English v. Arizona, 520
        U.S. 43, 67 (1997), and we have never suggested that an appellant’s
        failure to challenge all alternative grounds on appeal leaves us with-
        out a justiciable case or controversy. “[A]s long as the parties have
        a concrete interest, however small, in the outcome of the litigation,
        the case is not moot.” Knox v. Service Employees, 567 U.S. 298,
        307–-08 (2012) (internal quotation marks and citation omitted).
        The appellees’ argument “confuses mootness with the merits”
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        because the “prospects of success are . . . not pertinent to the moot-
        ness inquiry.” Chafin v. Chafin, 568 U.S. 165, 174 (2013). We there-
        fore conclude that Plumbers’ failure to challenge the district court’s
        shotgun pleading ruling does not deprive us of Article III jurisdic-
        tion.
                                            IV
                Because Plumbers has allegedly been injured by some of the
        defendants and those injuries are redressable by a favorable deci-
        sion, it has Article III standing to pursue some of its claims. Its abil-
        ity (or inability) to sue under the laws of states where it never re-
        imbursed purchases of ranitidine by unnamed class members does
        not implicate Article III standing, and the district court’s conclusion
        to the contrary was mistaken. But Plumbers was put on notice,
        before it filed its initial brief, that a failure to challenge the district
        court’s shotgun pleading ruling could be problematic. By not con-
        testing that ruling, Plumbers has given us no choice but to affirm
        the dismissal of the CTPPCC.
             DISMISSED IN PART, REVERSED IN PART, and
        AFFIRMED IN PART.
